Case 1:18-cv-01556-TSC Document 49-1 Filed 09/27/23 Page 1 of 4




                 Exhibit A
        Case 1:18-cv-01556-TSC Document 49-1 Filed 09/27/23 Page 2 of 4




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 BUZZFEED, INC.,

        Plaintiff,

        v.                                          No. 1:18-cv-01556-TSC

 U.S. DEPARTMENT OF JUSTICE, ET AL.,

        Defendants.


         SECOND SUPPLEMENTAL DECLARATION OF KARA CHRISTENSON

I, Kara Christenson, do hereby declare and state as follows:

1.     I am employed by the United States Department of Justice, Federal Bureau of Prisons

       (“BOP” or “Bureau”), as a Supervisory Government Information Specialist (“GIS”). I

       have been a Supervisory GIS since January 2023. Previously, I was employed as a GIS for

       the Bureau’s Central Office from August 2016 to January 2023, and as a Paralegal for the

       North Central Regional Office from September 2008 to August 2016. From June of 1994

       through September of 2008, I served as Legal Support Staff for the Legal Department at

       the Federal Medical Center in Rochester, Minnesota. I have been employed by BOP since

       March 1992.

2.     On June 12, 2020, I executed a declaration in the above-referenced case concerning the

       withholding of information from records released in response to a Freedom of Information

       Act (“FOIA”) Request filed by Christopher McDaniel, which was received by the BOP

       and assigned Request No. 2015-07460. The request sought DOJ and BOP records relating

       to lethal injection drugs from approximately August 2013 to August 2015.

3.     I understand that the Bureau has been ordered to provide additional information concerning

       records withheld pursuant to FOIA Exemption 4. Specifically, I understand that the Bureau
                                                1
      Case 1:18-cv-01556-TSC Document 49-1 Filed 09/27/23 Page 3 of 4




     has been asked to provide additional evidence and argument concerning Defendants’

     withholding of contractor names and the identifying nature of certain contract terms under

     FOIA Exemption 4.

4.   As discussed in my previous declaration, I was assigned to process FOIA Request No.

     2015-07460 based on my experience handling administrative matters and providing

     litigation assistance regarding death penalty issues in the ordinary course of my duties as a

     GIS and former paralegal. In my current role, I continue to maintain involvement in

     administrative matters and litigation related to death penalty issues. As such, I have

     firsthand, personal knowledge regarding BOP’s execution protocols and its procurement

     of lethal injection drugs, and the scope of documents maintained by the BOP related to

     such issues.

5.   As described in my previous declaration, I applied Exemption 4 to confidential commercial

     information contained in records responsive to FOIA Request No. 2015-07460. The

     withheld information included, among other things, the names of companies from whom

     the Bureau acquired lethal injection substances during the time frame requested.

6.   For the purposes of this declaration, I re-reviewed the information withheld from records

     responsive to FOIA Request No. 2015-07460 pursuant to Exemption 4. Based on my re-

     review of the records and my personal and firsthand knowledge of execution protocol-

     related issues, I have determined that during the time frame at issue (2013-2015) the Bureau

     acquired certain drugs – midazolam and hydromorphone – from domestic drug distribution

     companies as part of its review of the Bureau’s then-existing lethal injection protocol.

     Neither midazolam nor hydromorphone were ultimately selected to be used to carry out the

     Bureau’s 2019 execution protocol.         The Bureau’s 2019 execution protocol used

     pentobarbital as the lethal injection drug for each of the federal executions carried out in
                                              2
        Case 1:18-cv-01556-TSC Document 49-1 Filed 09/27/23 Page 4 of 4




       2020 and 2021. The Bureau never used the midazolam or hydromorphone acquired

       between 2013 and 2015 to carry out a federal execution. Further, due to the expiration of

       the drugs purchased during this time frame, these drugs are no longer in the possession of

       the BOP.

I declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and

correct to the best of my knowledge.


Executed this 27th day of September, 2023.




                                                    Kara Christenson
                                                    Supervisory GIS
                                                    Federal Bureau of Prisons




                                               3
